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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 11-CV-02285-NYW


 CENTER FOR LEGAL ADVOCACY, d/b/a
 DISABILITY LAW COLORADO,

         Plaintiff,

 v.

 REGGIE BICHA,
 In his official capacity as Executive Director
 Of the Colorado Department of Human Services, and

 JILL MARSHALL,
 In her official capacity as Superintendent
 Of the Colorado Mental Health Institute at Pueblo

         Defendants.

      DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR SUMMARY
           JUDGMENT TO ENFORCE SETTLEMENT AGREEMENT

         Disability Law Colorado’s Motion for Summary Judgment (Motion) should be

 denied because it is not entitled to judgment as a matter of law.

                                    ARGUMENT

   I.    Disability Law Colorado is not entitled to judgment as a matter of
         law.

         The law does not support summary judgment in favor of Disability Law

 Colorado because: 1) the Department’s non-performance of the timeframes was

 contemplated by the parties and does not constitute a breach of the Amended and


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 Restated Settlement Agreement (Agreement); 2) the Department’s December 2017

 invocation of Departmental Special Circumstances (DSC) was permitted by the

 Agreement; 3) the Department has not breached the implied covenant of good faith

 and fair dealing; and 4) the Department’s invocation of DSC complies with the

 terms of the Agreement. In its Motion, Disability Law Colorado argues that the

 Department is breaching the Amended and Restated Settlement Agreement

 (Agreement) because it has not met the timeframes for more than a year, because

 the Department’s December 2017 invocation of DSC was improper, because the

 Department’s December 2017 invocation of DSC breaches the implied covenant of

 good faith and fair dealing, and because neither invocation of DSC was justified

 based on the Agreement. Notwithstanding Disability Law Colorado’s failure to cite

 to undisputed material facts in support of its Motion, 1 its arguments fail as a

 matter of law.

       A.     The Department’s non-performance of the timeframes was
              contemplated by the parties and does not constitute a breach
              of the Agreement.

       In order to prevail on summary judgment on its claim that the Department

 breached the parties’ contract by not meeting the Agreement’s timeframes,


 1 Disability Law Colorado fails to cite to materials in the record which it believes

 are undisputed and it largely fails to cite to specific facts supporting its arguments.
 Instead, Disability Law Colorado cites to conclusory and unsupported allegations,
 such as its interpretation of unidentified data. Disability Law Colorado relies on
 this Court’s July 12, 2018 order to justify its failure to cite to undisputed facts. Dkt.
 96, fn. 2. This does not meet the threshold requirements for summary judgment. A

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 Disability Law Colorado must show, by undisputed facts: “(1) the existence of a

 contract; (2) performance by the plaintiff or some justification for nonperformance;

 (3) failure to perform the contract by the defendant; and (4) resulting damages to

 the plaintiff.” Spring Creek Expl. & Prod. Co v. Hess Bakken Inv., II, LLC, 887 F.3d

 1003, 1033 (10th Cir. 2018) (citing W. Distrib. Co. v. Diodosio, 841 P.2d 1053, 1058

 (Colo. 1992)); see also, e.g., Stoole v. Metro. Prop. & Cas. Ins. Co., 17-CV-0613-NYW,

 2018 WL 3126112, at *3 (D. Colo. June 26, 2018). Critical to any analysis of breach

 in this case is the principle that not every non-performance of a duty is a breach of

 contract. Arthur L. Corbin, Timothy Murray, Joseph M. Perillo, John E. Murray,

 Jr., Corbin on Contracts § 943 (1952); see also Restatement (First) of Contracts §

 312 (Am. Law Inst. 1932) (“The promisor does not necessarily commit a breach of

 contract if he fails to perform his promise.”).

       Disability Law Colorado does not address three of the four Spring Creek

 factors necessary to demonstrate breach by the Department; instead it only

 addresses the third factor, i.e. – failure to perform the contract by the defendant.

 Because it fails to meet its burden to show, by undisputed facts, all four factors, it is




 party asserting that a fact cannot be genuinely disputed must support the assertion
 by citing to particular parts of materials in the record. Fed. R. Civ. P. 56(c)(1)(A)
 (emphasis added); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (“Of course, a
 party seeking summary judgment always bears the initial responsibility of
 informing the district court of the basis for its motion” and identifying what
 information it believes demonstrates the absence of a genuine issue of material
 fact).
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 not entitled to summary judgment as a matter of law. Spring Creek Expl. & Prod.

 Co., 887 F.3d at 1033.

       And, Disability Law Colorado has not met the one Spring Creek factor that it

 did address, namely, that the Department failed to perform under the contract.

 Disability Law Colorado argues that non-performance of the timeframes amounts to

 a breach, and relies on its assertion that the Department has failed to admit all

 eligible pretrial detainees within 28 days in support of this argument. Dkt. 96, p.5 ¶

 I (A). 2 Contrary to Disability Law Colorado’s conclusory assertion, the Department

 has complied with the admission timeframes for inpatient competency evaluations.

 This is undisputed. Dkt. 97, Ex. B. Given this, all that is at issue here is whether

 the Department’s non-performance of the timeframe requirements related to




 2 Disability Law Colorado’s Motion also makes numerous allegations not relevant to

 the four issues stipulated to by the parties and presently before this Court. Dkt. 88,
 ¶ I (A)(i)-(iv). For instance, Disability Law Colorado alleges that: 1) the “State”
 admits that it is holding pretrial detainees in jail for months even though it
 concedes the detainees would be better served in the community; 2) the “State” is
 keeping individuals charged with low-level offenses in jail and often in
 administrative segregation or solitary isolation; and 3) that the wait times (for
 admission for restoration treatment) often exceed the amount of time individuals
 would have served if they pled guilty. Dkt. 96, pp. 6-7. The Department denies each
 of these allegations. The Department objects to similar allegations of this nature
 throughout Disability Law Colorado’s Motion, which are largely irrelevant to the
 four issues before this Court. Because the factual allegations go far beyond the
 scope of the issues before the court, and are thus irrelevant, the Department does
 not respond in further detail to them. But, should the Court entertain Disability
 Law Colorado’s myriad other allegations, the Department reserves its right to
 respond.

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 inpatient restoration treatment services constitutes a breach of the Agreement. It

 does not.

       The Agreement contemplates the possibility that the Department may not be

 able to meet the inpatient restoration timeframes, and includes language

 addressing such a circumstance. If non-performance of the inpatient restoration

 timeframes amounted to a breach, there would be no need for language in the

 Agreement providing consequences for such non-performance. 3 See Arthur L.

 Corbin et al., Corbin on Contracts § 943 (1952); see also Restatement (First) of

 Contracts § 312 (Am. Law Inst. 1932). Because Disability Law Colorado has not met

 its burden under Spring Creek, it is not entitled to judgment as a matter of law.

       B.       The Department’s December 2017 invocation of DSC was
                permitted by the Agreement.

       Next, Disability Law Colorado argues that the Department’s December 2017

 invocation of DSC was a breach of the Agreement because this was the second time

 the Department invoked DSC. This argument fails as a matter of law because it

 runs afoul of multiple principles of contract construction.

             1. Disability Law Colorado’s interpretation would require this Court to
                add terms to the Agreement.

       By suggesting that the Department cannot invoke DSC consecutively and

 more than once, Disability Law Colorado asks this Court to add limitations into the


 3 The Department’s arguments in its Motion for Summary Judgment that its non-

 performance does not constitute a breach of the Agreement is incorporated by
 reference as if fully set forth herein. Dkt. 97, pp. 18-21.
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 Agreement for which the parties did not bargain. This violates the well-established

 principle of contract construction that a court may not add, delete, or rewrite terms

 of a contract. See SOLIDFX, LLC v. Jeppesen Sanderson, Inc., 841 F.3d 827, 836

 (10th Cir. 2016) (“it is not the business of the courts to draft a better contract for the

 parties than they did for themselves.” (citing Allstate Ins. Co. v. Huizar, 52 P.3d

 816, 820 (Colo. 2002) (“[C]lear and unambiguous provisions cannot simply be

 rewritten by the courts”), and Kan. City Life Ins. Co. v. Pettit, 99 Colo. 268, 61 P.2d

 1027, 1028 (1936) (“It is elementary a court cannot make a new contract in lieu of

 the one originally entered into by the parties themselves.”)); Colo. Interstate Corp..

 v. CIT Grp./Equip. Fin., Inc., 993 F.2d 743, 749 (10th Cir. 1993) (“Where

 sophisticated parties enter into an agreement setting forth their rights and

 obligations, the terms of the agreement should control unless the agreement would

 otherwise be void under state law.”).

       The parties bargained for DSC and the language governing its application

 was negotiated on two separate occasions separated by the passage of four years.

 See Dkt. 97, ¶¶ 3, 4, 6-9, 14-18. The terms regarding DSC, and the Agreement as a

 whole, are unambiguous. Though the Agreement places limits on the Department’s

 ability to invoke DSC, those limits do not include the language that Disability Law

 Colorado asks the Court to write into the Agreement. Dkt. 78-1, ¶ 6(a)(ii) (setting

 forth limitations on the circumstances under which DSC may be invoked).

 Accordingly, this Court should not add language to the Agreement which is not


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 found within the four-corners of the parties’ contract. Ewing’s Lessee v. Burnet, 36

 U.S. 41, 54 (1837) (the court will first take the instrument by its four corners, in

 order to ascertain its true meaning); N.Y. Life Ins. Co. v. K N Energy, Inc., 80 F.3d

 405, 409 (10th Cir. 1996) (when the contract is unambiguous the parties’ intent is to

 be determined from the face of the contract itself (citing Gardner v. City of

 Englewood, 282 P.2d 1084, 1090 (Colo. 1955))).

              2. Disability Law Colorado’s interpretation would render DSC terms
                 meaningless, and fails to read the agreement as a whole.

       Disability Law Colorado contends that permitting the Department to invoke

 DSC successively would violate the principles of contract construction because it

 would render meaningless the Agreement’s six-month automatic suspension of

 timeframes. Dkt. 96, p. 7, ¶ I(B) (referring to Dkt. 78-1, ¶ 6(c), relying on Summit

 Bank & Tr. v. Am. Modern Home Ins. Co., 71 F. Supp. 3d 1168, 1171 (D. Colo.

 2014)). Yet, it is Disability Law Colorado’s reading that would render all of DSC

 meaningless because it would ignore the plain language of the agreement. The

 Agreement allows the Department to invoke DSC when there are circumstances

 beyond its control that impact the Department’s ability to comply with the

 timeframe requirements. Spring Creek Expl. & Prod. Co., 887 F.3d at 1018 (the

 court “should be wary of viewing clauses or phrases in isolation, instead reading

 them in the context of ‘the entire contract seeking to harmonize and to give effect to

 all provisions so that none will be rendered meaningless’” (internal citations

 omitted)).

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       Disability Law Colorado also argues that because the Agreement explicitly

 allows successive invocation of Individual Special Circumstances (ISC), and is silent

 as to successive invocation of DSC, successive invocation of DSC is not permitted.

 This reading requires the Court to read DSC without considering the provisions of

 the Agreement as a whole, contrary to rules of contract construction. Spring Creek

 Expl. & Prod. Co., 887 F.3d at 1018; Slowson Expl. Co. v. Vintage Petroleum, Inc.,

 78 F.3d 1479, 1482 (10th Cir. 1996) (courts must review a contract as a whole,

 including exhibits, to determine the intent of the parties).

       Disability Law Colorado’s interpretation ignores plain terms that define ISC

 differently than DSC. Indeed, circumstances applicable to one discrete pretrial

 detainee are distinct from circumstances that impact the entire population of

 pretrial detainees. See, e.g., Dkt. 78-1, ¶ 6(a)(i) (defining ISC as applicable to

 situations that delay the offer of admission to a single pretrial detainee); Dkt. 78-1,

 ¶ 6(a)(ii) (defining DSC as applicable to situations that impact the Department’s

 ability to comply with the timeframes as to all pretrial detainees). The use of

 different language does not allow a construction of the Agreement which fails to

 read the contract as a whole. Texaco, Inc. v. Holsinger, 336 F.2d 230, 233 (10th Cir.

 1964) (“all of the language used anywhere in the instrument should be taken into

 consideration and construed in harmony with other provisions of the contract.”).




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           3. Disability Law Colorado assumed the risks associated with the terms
              it negotiated, and as such, the agreement must be applied as written.

       Disability Law Colorado asserts that it would never have agreed to successive

 invocation of DSC. However, it did not negotiate for any limits on the number of

 times the Department may invoke DSC. As a sophisticated party entering into a

 significant contract, Disability Law Colorado assumed the risk associated with the

 terms of that contract, and should be held to its terms as written. Colo. Interstate

 Corp., 993 F.2d at 749; United States v. Winstar Corp., 518 U.S. 839, 905 (1996);

 Ewing’s Lessee, 36 U.S. 41, 54 (1837).

       But, Disability Law Colorado would have the Court ignore these well-

 established principles of contract construction. Indeed, as written, the Agreement’s

 terms, entered into by sophisticated parties, plainly allow the Department to invoke

 DSC, while also placing express limits on the Department’s ability to do so (i.e.,

 when there are circumstances beyond its control impacting its ability to comply

 with the timeframe requirements). 4 Dkt. 78-1, ¶ 6(a)(ii). Disability Law Colorado

 assumed the risk of those terms, and should be held to its plain language. Winstar

 Corp., 518 U.S. at 905; Brammer-Hoelter v. Twin Peaks Charter Acad., 492 F.3d

 1192, 1211 (10th Cir. 2007).




 4 The Department’s argument in its Motion for Summary Judgment concerning its

 ability to invoke DSC consecutively and more than once is incorporated by reference
 as if fully set forth herein. See Dkt. 97, pp. 14-17.
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        For each of these reasons, Disability Law Colorado’s argument that the

  Department’s December 2017 invocation of DSC was a breach of the Agreement,

  fails as a matter of law.

        C.     The Department has not breached the implied covenant of
               good faith and fair dealing.

        Disability Law Colorado argues in the alternative that the December 2017

  invocation of DSC constitutes a breach of the implied covenant of good faith and fair

  dealing. This argument also fails as a matter of law because it requires the Court to

  read terms into the Agreement for which the parties did not bargain.

        The implied covenant of good faith and fair dealing cannot contradict terms

  or conditions for which a party has bargained. Amoco Oil CoErvin, 908 P.2d 493,

  498 (Colo. 1995) (citing Hubbard Chevrolet Co. v. General Motors Corp., 873 F.2d

  873, 877 (5th Cir.)(1989)). Good faith performance of a contract involves

  “faithfulness to an agreed common purpose and consistency with the justified

  expectations of the other party.” Id. (citing Wells Fargo Realty Advisors Funding,

  Inc. v. Uioli, Inc., 872 P.2d 1359, 1363 (Colo. App. 1994).

        The Department had a justified expectation that the Agreement did not

  prohibit it from invoking DSC more than one time and consecutively. The plain

  terms of the Agreement place no restriction on the number of times or timing of the

  Department’s DSC invocation. Disability Law Colorado and the Department,

  sophisticated parties, engaged in multiple negotiations, and twice amended the

  Agreement. At no time did Disability Law Colorado negotiate for or obtain language

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  in the Agreement with the restrictions on DSC it now suggests exist. Indeed,

  reading such terms into the Agreement would be manifestly inappropriate under

  the circumstances. 5 As such, Disability Law Colorado cannot now claim a breach of

  the implied covenant of good faith when it agreed to include the provisions

  permitting DSC in the Agreement, and it cannot rely on the principle to contradict

  the conditions of DSC for which it bargained. Id. Accordingly, the law does not

  support summary judgment in Disability Law Colorado’s favor on this argument.

        D.     The Department’s invocation of DSC complies with the terms
               of the Agreement.

        Disability Law Colorado lastly argues that the Department’s December 2017

  DSC invocation violated the Agreement because it did not meet the Agreement’s

  definition of DSC. Because this argument ignores the plain language of the

  Agreement, it is contrary to law and must also fail.

        Under Colorado law, courts must construe the terms of an agreement in a

  manner that allows each party to receive the benefit of the bargain, and the scope of

  the agreement must faithfully reflect the reasonable expectations of the parties.

  SOLIDFX, LLC, 841 F.3d at 833 (citing Allen v. Pacheco, 71 P.3d 375, 378 (Colo.

  2003)). “[U]nambiguous contracts are enforced according to their plain, general, and

  common meaning in order to ensure the intentions of the parties are enforced.”




  5 Department’s argument in its Motion for Summary Judgment concerning its

  ability to invoke DSC consecutively and more than once is incorporated by reference
  as if fully set forth herein. See Dkt. 97, pp. 14-17.
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  Lincoln v. BNSF Ry. Co., No. 17-3120, 2018 WL 3945875, at *9–10 (10th Cir. Aug.

  17, 2018) (quoting NeustromUnion Pac. R.R. Co., 156 F.3d 1057, 1063 (10th Cir.

  1998)). Courts must first examine the plain language of the contract, and will

  enforce the agreement as written unless there is an ambiguity in the language.

  SOLIDFX, LLC, 841 F.3d at 833 (citing Allen, 71 P.3d at 378). Ambiguity does not

  appear unless it is genuinely uncertain which of two or more meanings is the proper

  meaning. Lincoln, 2018 WL 3945875, at *9–10 (citing Neustrom, 156 F.3d at 1063).

  A contract is ambiguous if it “contains provisions or language of doubtful or

  conflicting meaning, as gleaned from a natural and reasonable interpretation of its

  language.” Id. at *10 (internal citations omitted). “Courts should not strain to create

  an ambiguity where, in common sense, there is none.” Id.; see also SOLIDFX, LLC,

  841 F.3d at 833 (courts should neither rewrite the agreement nor limit its effect by

  a strained construction.)

        The Agreement states:

               “Departmental Special Circumstances,” means
               circumstances beyond the control of the Department
               which impact the Department’s ability to comply
               with the timeframes set forth in Paragraph 2. This
               could mean an unanticipated spike in referrals, a
               national or statewide disaster impacting admissions
               decisions system wide. These examples are provided
               for illustration only. Departmental Special
               Circumstances is a flexible concept, due to the
               unique and often unforeseen nature of these events.

  (emphasis added). Dkt. 78-1, ¶ 6(a)(ii). So, DSC plainly means circumstances

  beyond the Department’s control which impact its ability to comply with the

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  Agreement’s timeframe requirements. This language is not ambiguous. See

  SOLIDFX, LLC, 841 F.3d at 833.

        However, Disability Law Colorado selectively picks words from the DSC

  definition to create a new one that requires circumstances “‘outside the control of

  the Department’—something ‘unique’ or ‘unforeseen,’ akin to a ‘statewide disaster.’”

  Dkt. 96, p. 9. The plain language definition of DSC speaks for itself and the Court

  should decline Disability Law Colorado’s invitation to create a new one.

        Though the Agreement does not require DSC to be unique or unforeseen, the

  Department’s June 2017 invocation was based on an unanticipated spike in court-

  ordered referrals for inpatient competency evaluation and restoration treatment

  services. Compare Exhibit C – BestReferralsPerMonth_July 2018, Column L, Rows

  14, 16, and 18 (reflecting 84 orders for inpatient competency evaluation and

  restoration services in April 2017) with Exhibit C, Columns M and N, Rows 14, 16,

  and 18 (reflecting 110 orders for inpatient competency evaluations and restoration

  services in May and June 2017, respectively). The number of court orders entered

  statewide requiring the Department to provide inpatient competency evaluations

  and restoration treatment services is beyond the Department’s control—this fact is

  not reasonably subject to dispute. 6 It follows then, that any spike in the number of




  6 The Department provides inpatient competency evaluations and restoration

  treatment services pursuant to Colorado law. §§ 16-8.5-101, et seq.; 27-65-107,
  C.R.S. (2017). It does not control whether or where a court orders a defendant to
  receive those services. Id.
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  court orders for such services is also beyond the Department’s control, thus meeting

  the definition of DSC. Dkt. 96-2, p. 6.

         In December 2017, the Department also invoked DSC. That invocation was

  based on the fact that, since the spike in referrals during June 2017, courts have

  continued to order pretrial detainees for inpatient restoration services at the same

  elevated level. Compare Exhibit C – BestReferralsPerMonth_July 2018, Columns I-

  L, Row 14 (reflecting 49, 49, 38, and 57 orders for inpatient restoration services in

  January through April 2017, respectively) with Exhibit C, Columns M-T, Row 14

  (reflecting 65, 61, 62, 76, 65, 66, 76, 68, orders for inpatient restoration services in

  May through December 2017, respectively). For the same reasons as stated above,

  the Department also does not control the number of court orders continually

  entered statewide. So, a persistent elevated number of court orders for such services

  is also beyond the Department’s control, thus meeting the definition of DSC. Dkt.

  96-3, p. 3.

         Disability Law Colorado does not dispute the fact that there was an increase

  in the number of court orders in 2017, or that the Department cannot control any

  spike or sustained increase in the number of court orders for inpatient competency

  evaluations and restoration treatment services. Dkt. 96, p. 11. Disability Law

  Colorado also does not dispute whether the Department had the resources to

  manage the elevated volume of orders when it invoked DSC in December 2017. Dkt.

  96, pp. 11. Instead, it argues that the Department should have foreseen the increase


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  in court orders, and increased its resources accordingly. Id. By suggesting this

  requirement, Disability Law Colorado alters the DSC definition to add a

  foreseeability element. This is contrary to the principles of contract construction.

         In sum, Disability Law Colorado’s proposed interpretation of DSC is contrary

  to the foundational rules of contract construction. Instead of interpreting the plain

  language of the Agreement as required by SOLIDFX, LLC, 841 F.3d at 833 (citing

  Allen, 71 P.3d at 378), Disability Law Colorado insists upon an interpretation that

  is not natural or reasonable based on the Agreement’s plain language. Lincoln, 2018

  WL 3945875, at *9–10. In addition, adopting Disability Law Colorado’s

  interpretation of DSC would limit the effect of the provision in a manner

  inconsistent with the Department’s reasonable expectations and deprive it the

  benefit of its bargain. SOLIDFX, LLC, 841 F.3d at 833; Allen, 71 P.3d at 378. The

  law does not support such a strained construction. SOLIDFX, LLC, 841 F.3d at 833.

  Accordingly, summary judgment should not be granted in favor of Disability Law

  Colorado on this argument.

   II.   Contempt is not available to Disability Law Colorado.

         Contempt is not available to Disability Law Colorado because this Court’s

  Order of Dismissal Under Fed. R. Civ. P. 41(a)(2) in July 2016 (Order) approves the

  Agreement and incorporates it by reference, but does not expressly lay out

  provisions of the Agreement that Disability Law Colorado alleges the Department

  has violated.


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        In the context of a settlement agreement, contempt is available in limited

  circumstances. Where a settlement agreement is approved by the court “[it] is

  nothing more than a contract; the imprimatur of an injunction is required to render

  it a consent decree enforceable through contempt.” Consumers Gas & Oil, Inc. v.

  Farmland Indus., Inc., 84 F.3d 367, 370 (10th Cir. 1996) (quoting D. Patrick v. Ford

  Motor Co., 8 F.3d 455, 460 (7th Cir.1993)) (emphasis added). For a settlement

  agreement to have the meaning and effect of an injunction, the order approving the

  settlement agreement must go further than simply incorporating the agreement’s

  terms by reference. Instead, the order approving the settlement agreement must

  meet the minimum requirements of F.R.C.P. 65(d)(1)(C), which explicitly requires

  an order of injunction to “describe in reasonable detail—and not by referring to the

  complaint or other document—the act or acts restrained or required.” More

  specifically, the order must include an explanation of the reasons for its issuance,

  details of the order’s specific terms, and a description of the restrained acts. New

  Mexico v. Trujillo, 813 F.3d 1308, 1319 (10th Cir. 2016). This requirement of a

  reasonably detailed description of the restrained or required acts aligns with due

  process requirements necessarily intertwined with contempt enforcement efforts.

  FTC v. Kuykendall, 371 F.3d 745, 756-57 (10th Cir. 2004) (party seeking contempt

  order has the burden to prove four specific elements, by clear and convincing

  evidence, including that the defendants had knowledge of, and disobeyed, the order)

  (quoting Reliance Ins. Co. v. Mast Constr. Co., 159 F.3d 1311, 1315 (10th Cir. 1998));


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  see also D. Patrick, Inc., 8 F.3d at 460–61 (the complaining party must demonstrate

  by clear and convincing evidence that the respondent has violated the express and

  unequivocal command of a court order).

        In 2016, the parties entered into the Agreement, and as a result, filed a joint

  motion to dismiss Disability Law Colorado’s prior Motion to Reopen Action for

  Enforcement of Settlement Agreement. Dkt. 78. Subsequently, this Court entered

  the Order, which contained five statements addressing: 1) the Court’s jurisdiction

  over the matter; 2) the Court’s approval of the Agreement between the parties; 3) a

  directive that “[t]he Parties shall comply with the terms of their Settlement

  Agreement entered into on July 28, 2016, a copy of which appears on the docket for

  this case at [#78-1] and is incorporated by reference as if fully set forth herein”; 4)

  retention of jurisdiction over the settlement and enforcement of the Agreement; and

  5) dismissing the case pursuant to Fed. R. Civ. P. 41(a)(2). Dkt. 80.

        While the Order approving the Agreement states the reasons for its

  issuance—a satisfactory agreement between the parties resolving the dispute—it

  does not meet the other requirements of an injunction order because it does not

  detail specific terms or describe the restrained acts. Dkt. 80. The only reference to

  either specific terms or restrained acts is through the incorporation of the

  Agreement by reference. Dkt. 80, ¶ 3. However, incorporation by reference is not

  enough to render the Agreement a consent decree enforceable through contempt.

  F.R.C.P. 65(d)(1)(C); Consumers Gas & Oil, Inc., 84 F.3d at 370. Consequently,


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  there is no legal basis to treat the Order as making the Agreement capable of being

  enforced through contempt; 7 it is a contract between the parties and must be

  interpreted and enforced as such. Consumers Gas & Oil, Inc., 84 F.3d at 370.

  Accordingly, the appropriate remedy for enforcement of the Agreement is extension

  of the Agreement’s duration, as agreed upon by the parties. 8

                                     CONCLUSION

        Throughout its Motion, Disability Law Colorado has failed to show that it is

 entitled to judgment as a matter of law. Accordingly, its Motion should be denied and

 this Court should decline to impose the relief Disability Law Colorado seeks.

                                        CYNTHIA H. COFFMAN
                                        Attorney General

                                        s/ Tanya E. Wheeler
                                        TANYA E. WHEELER, 37089*
                                        First Assistant Attorney General

  7 Disability Law Colorado claims that the Department’s letters to state courts in

  individual criminal cases justify ordering immediate compliance upon pain of
  contempt in this matter. Dkt. 96, p. 12. The Department disputes Disability Law
  Colorado’s characterization of Exhibit 5 as containing an admission of any sort. The
  Department has never admitted violating constitutional rights of pretrial detainees.
  Additionally, Disability Law Colorado invites this Court to enter an order mirroring
  those of various state courts. Dkt. 96, pp. 13-14. While some of those orders have
  resulted in certain individuals being admitted immediately, a collateral impact of
  these orders is that other individuals have waited even longer than they otherwise
  would have because of the “line jumping” this has created. See Exhibit D – Order re:
  Motion for Order for CMHIP to Immediately Transfer Mr. G to CMHIP Pursuant to
  the Court’s Order to Provide Him Restoration Treatment, People v. D.G. None of
  this justifies, or provides a legal basis for, this Court to enter the order Disability
  Law Colorado seeks.
  8 The Department’s arguments in its Motion for Summary Judgment concerning the

  appropriate remedy in this matter are incorporated by reference as if fully set forth
  herein. See Dkt. 97, pp. 22-24.
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                      CERTIFICATE OF SERVICE (CM/ECF)

        The undersigned hereby certifies that on this 5th day of September, 2018, a

  true and correct copy of this DEFENDANTS’ RESPONSE TO PLANITIFF’S

  MOTION FOR SUMMARY JUDGMENT TO ENFORCE SETTLEMENT

  AGREEMENT, was electronically filed with the Clerk of the Court using the

  CM/ECF system, which will send notification of such filing to the following e-mail

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